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                                         October 28, 2024

 VIA ECF
 Honorable Ramon E. Reyes, Jr.
 United States District Judge
 Eastern District of New York
 225 Camden Plaza East
 Brooklyn, New York 11201

          Re:    Mandel v. Daskal et al., No. 1:23-cv-07352(RER)(VMS)

 Dear Judge Reyes:

     We write on behalf of our client Lipa “Nussy” Brauner in the above captioned case to advise
 the Court that the following motion papers have been electronically filed via ECF:

       1. Defendant Brauner’s Notice of Motion to Dismiss the Amended Complaint Pursuant to
          Fed. R. Civ. P. 12(b)(6), served on all parties August 9, 2024 (ECF No. 101);
       2. Defendant Brauner’s Memorandum of Law in Support of His Motion to Dismiss Plaintiff’s
          Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(6), served on all parties August 9,
          2024 (ECF No. 102).
       3. Plaintiff’s Omnibus Legal Memorandum in Opposition to the Defense Motions Pursuant
          to Fed. R. Civ. P. 12, originally filed as ECF No. 79 (ECF No. 103); and
       4. Defendant Brauner’s Reply Memorandum of Law in Support of His Motion to Dismiss
          (ECF No. 104).

    In accordance with Rule I(D) of the Court’s Individual Practice Rules, we will provide the
 Court with a courtesy copy of the above-mentioned motion papers.

                                        Respectfully submitted,



                                           Marc Agnifilo

 cc:      All counsel (via ECF)
